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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MARCELA S. SANTOS,                  :
also known as D.L. Santos,          :
                                    :
       Plaintiff,                   :                     Civil Action No.:       12-334 (RC)
                                    :
       v.                           :                     Re Document No.:        18
                                    :
THE TRUSTEES OF GRINNELL COLLEGE, :
doing business as Grinnell College, :
                                    :
       Defendant.                   :

                                  MEMORANDUM OPINION

                    GRANTING DEFENDANT’S MOTION TO TRANSFER VENUE

                                      I. INTRODUCTION

       The Plaintiff, Marcela S. Santos has brought a complaint against the Defendant, Trustees

of Grinnell College (“Grinnell”), for non-employment disability discrimination, breach of

published college medical leave policy, promissory estoppel, intentional infliction of emotional

distress, and negligent infliction of emotional distress based on a special relationship.

Ms. Santos filed a related suit in California centering on essentially the same subject matter.

Grinnell has moved to dismiss Ms. Santos’s complaint for improper venue and/or forum non

conveniens, or, in the alternative, moves to transfer venue. Ms. Santos opposed this motion on

the grounds that venue in the District of Columbia is proper and that the interests of justice do

not favor transfer. Ms. Santos also posits that 28 U.S.C. § 1391, rather than Title VII, should

govern whether venue is proper. For the reasons discussed below, the Court grants Grinnell’s

motion to transfer the case to the United States District Court for the Southern District of Iowa.
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                                II. FACTUAL BACKGROUND

       Ms. Santos is a twenty-two year old individual domiciled in Maryland. Am. Compl.

¶ 10. Grinnell, a nonprofit corporation incorporated in Iowa, is a liberal arts college located in

Grinnell, Iowa. Def.’s Mem. at 4. Ms. Santos enrolled at Grinnell as a member of the college’s

2008–2009 freshman class and arrived on campus in Iowa in August 2008. Id. at 7. Ms. Santos,

who has ancillary impediments to academic progress stemming from her bipolar disorder, Am.

Compl. ¶ 31, alleges that she was assured by Grinnell that she would be provided an on-campus

mentor to help neutralize her condition. Id. ¶ 33.

       Ms. Santos was to meet with her on-campus mentor, Judy Hunter, Def.’s Mem. at 6, on a

weekly basis, alternating between one-on-one and group meetings with similarly situated

students. Id. ¶ 35. Such meetings were to occur on-campus, in Iowa. Ms. Santos alleges that

Ms. Hunter failed to track her academic progress and that she learned late in the semester that

she was on the verge of failing all her courses due to missed assignments. Am. Compl. ¶ 37.

Ms. Santos was then referred to Joyce Stern, Grinnell’s Dean of Academic Support and

Advising, id. ¶ 37, whereupon Ms. Stern received permission from Ms. Santos to contact her

psychiatrist. Id. ¶ 38. Ms. Santos’s psychiatrist informed Ms. Stern that Ms. Santos’s

medication led her to fall behind on her coursework. Id. ¶ 39. Ms. Stern then reported this

information to Ms. Santos’s professors and instructed Ms. Santos to seek additional time to

complete her missed assignments. Id. ¶ 39. Ms. Santos and her professors, though, were unable

to reach mutually agreeable accommodations. Id. ¶ 40. To avert a slate of failed grades,

Ms. Stern allegedly provided Ms. Santos with two choices on the eve of finals: She could either

complete her missed assignments within two weeks after finals or she could secure a medical

leave of absence via a written explanation of her medical state from her psychiatrist. Id. ¶¶ 42–




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43. If she opted to take a medical leave, Ms. Santos’s transcript would reflect that she had

withdrawn from all her classes that semester. Id. ¶ 43. Ms. Santos elected to pursue a medical

leave of absence, and Ms. Stern granted her request. Id.; Def.’s Mem. at 7.

       While Ms. Santos was on medical leave, she requested an academic accommodation,

which would allow her to receive regular feedback on her academic progress from her on-

campus advisor. Am. Compl. ¶ 47. Ms. Santos indicates that Grinnell had committed to abide

by her plan. Id. ¶ 49. Ms. Santos, though, alleges that Grinnell quickly withdrew its support for

the plan upon her return from medical leave. Id. ¶ 52. Namely, Ms. Stern did not want

professors to supply written answers to four interrogatories regarding Ms. Santos’s academic

progress. Id. Rather, Grinnell proposed a system whereby faculty would inform administrators

if Ms. Santos fell into academic trouble. Id. ¶ 62. This alternative accommodation was deemed

unsuitable by Ms. Santos’s psychiatrist. Id. After six weeks of discussions regarding

Ms. Santos’s request for academic accommodation, on March 12, 2009, Ms. Stern informed

Ms. Santos that her accommodation request had been denied. Id. ¶ 64. Ms. Santos alleges that

this six week discussion was purposely devised to “grind [Ms. Santos] down” and lead her to

withdraw her request. Id. ¶ 65. Ms. Santos suggests that this plan may have been endorsed by

two Grinnell vice presidents. Id.

       During Ms. Santos’s second semester, including the intermediate time between her

accommodation request and Grinnell’s subsequent denial, Ms. Stern and Grinnell professors

allegedly pushed Ms. Santos to manage her own academic progress. Id. ¶¶ 67–68. The time in

which this pressure was being applied coincided with a worsening of Ms. Santos’s health as she

“descend[ed] into a clinical bipolar state of depression.” Id. ¶ 68. In one notable incident, one of

Ms. Santos’s professors sent her an email indicating his displeasure with Ms. Santos’s failure to




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communicate with him. Id. ¶ 70. This incident caused Ms. Santos severe emotional distress,

which led her to fly back to the “D.C. area” along with her parents (who had flown to Iowa after

learning of Ms. Santos’s distress). Id. ¶¶ 72, 74. There, she met with her Maryland

psychotherapist and psychiatrist. Id. ¶ 74. While Ms. Santos’s parents were in Iowa, they

solicited an explanation from Ms. Stern for the professor’s antagonizing email. Id. ¶ 75. After

receiving treatment from her Maryland doctors, Ms. Santos’s condition was stabilized and she

resumed her studies in Grinnell, Iowa. Id. ¶ 74. Upon Ms. Santos’s return to campus, Ms. Stern

offered her the option to withdraw from the course that the offending professor instructed. Id.

¶ 76. Ms. Santos withdrew from that course and finished her remaining courses. Id. After the

semester ended, Ms. Santos withdrew from Grinnell. Def.’s Mem. at 9.


                                       III. DISCUSSION

                                       A. Legal Standard

       “Rule 12(b)(3) instructs the court to dismiss or transfer a case if venue is improper or

inconvenient in the plaintiff’s chosen forum.” Poku v. FDIC, 752 F. Supp. 2d 23, 26 (D.D.C.

2010). “In considering a Rule 12(b)(3) motion, the court accepts the plaintiff’s well-pled factual

allegations regarding venue as true, draws all reasonable inferences from those allegations in the

plaintiff’s favor, and resolves any factual conflicts in the plaintiff’s favor.” Williams v. GEICO

Corp., 792 F. Supp. 2d 58, 62 (D.D.C. 2011) (quoting Pendleton v. Mukasey, 552 F. Supp. 2d 14,

17 (D.D.C.2008)). But the Court need not accept Plaintiff’s legal conclusions, Darby v. U.S.

Dep’t of Energy, 231 F. Supp. 2d 274, 277 (D.D.C. 2002), nor “inferences that are unsupported

by the facts set out in the complaint,” Herbert v. Sebelius, 925 F. Supp. 2d 13, 17 (D.D.C. 2013)

(citing Trudeau v. FTC, 456 F.3d 178, 193 (D.C. Cir. 2006)). “A court may [also] consider




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material outside of the pleadings in ruling on a motion to dismiss for lack of venue . . . .” Artis v.

Greenspan, 223 F. Supp. 2d 149, 152 (D.D.C. 2002).

        “Because it is the plaintiff’s obligation to institute the action in a permissible forum, the

plaintiff usually bears the burden of establishing that venue is proper.” Freeman v. Fallin, 254 F.

Supp. 2d 52, 56 (D.D.C.2003). If venue is improper, “[t]he district court . . . shall dismiss, or if

it be in the interest of justice, transfer [the] case to any district or division in which it could have

been brought.” 28 U.S.C. § 1406(a). “The decision whether a transfer or a dismissal is in the

interest of justice . . . rests within the sound discretion of the district court.” Naartex Consulting

Corp. v. Watt, 722 F.2d 779, 789 (D.C. Cir.1983).

        Even when venue is proper, however, “[f]or the convenience of parties and witnesses, in

the interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought . . . .” 28 U.S.C. § 1404(a). “The idea behind § 1404(a) is that

where a ‘civil action’ to vindicate a wrong—however brought in a court—presents issues and

requires witnesses that make one District Court more convenient than another, the trial judge

can, after findings, transfer the whole action to the more convenient court.” Continental Grain

Co. v. Barge F.B.L.–585, 364 U.S. 19, 26 (1960). “[T]he main purpose of section 1404(a) is to

afford defendants protection where maintenance of the action in the plaintiff’s choice of forum

will make litigation oppressively expensive, inconvenient, difficult or harassing to defend.”

Starnes v. McGuire, 512 F.2d 918, 927 (D.C. Cir. 1974) (en banc); accord Van Dusen v.

Barrack, 376 U.S. 612, 616 (1964) (“[T]he purpose of the section is to prevent the waste ‘of

time, energy and money’ and ‘to protect litigants, witnesses and the public against unnecessary

inconvenience and expense . . . .’” (quoting Continental Grain, 364 U.S. at 26, 27)). When

venue is properly laid in this district, “[t]ransfer elsewhere under Section 1404(a) must . . . be




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justified by particular circumstances that render [this] forum inappropriate by reference to the

considerations specified in that statute. Absent such circumstances, transfer in derogation of

properly laid venue is unwarranted.” Starnes, 512 F.2d at 925–26.

        Section 1404(a) “vests ‘discretion in the district court to adjudicate motions for transfer

according to an individualized, case-by-case consideration of convenience and fairness.’” Reiffin

v. Microsoft Corp., 104 F. Supp. 2d 48, 50 (D.D.C. 2000) (quoting Stewart Org., Inc. v. Ricoh

Corp., 487 U.S. 22, 29 (1988)). And it “directs a district court to take account of factors other

than those that bear solely on the parties’ private ordering of their affairs. The district court also

must weigh in the balance the convenience of the witnesses and those public-interest factors of

systemic integrity and fairness that, in addition to private concerns, come under the heading of

‘the interest of justice.’” Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 30 (1988). The precise

“standards to be considered in determining whether to grant or deny a section 1404(a) motion to

transfer are generally . . . left to the discretion of the trial court,” SEC v. Page Airways, Inc., 464

F. Supp. 461, 463 (D.D.C. 1978), which is “broad” but “not untrammeled,” Fine v. McGuire,

433 F.2d 499, 501 (D.C. Cir. 1970) (per curiam) (noting that the trial court must “give

consideration to the traditional [forum non conveniens] factors, including the plaintiff’s choice of

forum”). With that said, the weight given to a plaintiff’s choice of forum is mitigated when it is

not the plaintiff’s home forum. Spaeth v. Mich. State Univ. Coll. of Law, 845 F. Supp. 2d 48, 58

(D.D.C. 2012). Deference to the plaintiff’s choice of forum is also lessened when the applicable

forum has “no meaningful ties to the controversy and no particular interest in the parties or

subject matter.” Wilderness Soc’y v. Babbitt, 104 F. Supp. 2d 10, 13 (D.D.C. 2000).




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                                            B. Analysis

       For the purpose of this opinion, it is assumed, but not decided, that 28 U.S.C. § 1391

governs whether venue is proper, as per Ms. Santos’s argument. It is further assumed, but not

decided, that under 28 U.S.C. § 1391 venue is proper in the United States District Court for the

District of Columbia. Even still, this Court transfers this case to the United States District Court

for the Southern District of Iowa under 28 U.S.C. § 1404.

                                    1. Iowa is a Proper Venue

       Under 28 U.S.C. § 1404, the Court may only transfer this case to the Southern District of

Iowa if this case “might have been brought” in that district. 28 U.S.C. § 1404(a). Under the

general federal venue statute, which this Court assumes is applicable to this issue, a case may be

brought in in any district in which any defendant resides, as long as all defendants reside in the

State in which the district is located. 28 U.S.C. § 1391(b)(1). Here, there is no dispute that

Grinnell, as the only defendant in this suit, is an Iowa resident. Furthermore, this case could

have been brought in any district “in which a substantial part of the events or omissions giving

rise to the claim occurred.” 28 U.S.C. § 1391(b)(2). Here, the crux of this lawsuit lies in

Grinnell’s alleged failure to adequately accommodate Ms. Santos’s medical condition while she

was a residential student of Grinnell on its Iowa campus. Accordingly, most, if not all,

developments relevant to this suit took place in Iowa. Ms. Santos struggled with her academic

progress while in Iowa. Ms. Hunter allegedly failed to properly track Ms. Santos’s academic

progress in Iowa. Ms. Santos’s accommodation request was targeted to aid her studies in Iowa.

The various deliberations and discussions between Ms. Santos and Ms. Stern regarding

Ms. Santos’s academic options and requests for accommodation occurred, primarily, if not

exclusively, in Iowa. During her second semester, Ms. Santos was allegedly pressured by




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Ms. Stern and her college professors to manage her academic progress in Iowa. If there was a

plan, which may or may not have been supported by two Grinnell vice presidents, to get

Ms. Santos to withdraw her request, such a plan would have been devised in Iowa. Indeed, even

Ms. Santos’s parents met with Ms. Stern in Iowa. Thus, it is clear that venue is proper in the

United States District Court for the Southern District of Iowa under 28 U.S.C. § 1404(a).

                              2. Iowa is the More Convenient Forum

        Having decided that the Southern District of Iowa is a proper venue for this case, the

Court must now consider whether the “particular circumstances” of this case warrant a transfer to

said district. Starnes, 512 F.2d at 925–26. In order to do this the Court will address the private

and public interests of transferring this case to the Southern District of Iowa. Stewart Org., 487

U.S. at 30.

                                     a. Private Interest Factors

        The private-interest factors which should be considered include: (1) the plaintiff’s choice

of forum; (2) the defendant’s choice of forum; (3) whether the claim arose elsewhere; (4) the

convenience of the parties; (5) the convenience of the witnesses; and (6) the ease of access to

sources of proof. Montgomery v. STG Int’l, Inc., 532 F. Supp. 2d 29, 32–33 (D.D.C. 2008)

(citing Akiachak Native Cmty. v. U.S. Dep’t of Interior, 502 F. Supp. 2d 64, 67 (D.D.C. 2007)).

Here, it is clear these factors weigh in favor of the transferring this suit to Iowa. First, the

deference provided to the plaintiff’s choice of forum is lessened by Ms. Santos’s admission that

she is a resident of Maryland. Second, Grinnell’s choice of forum is Iowa, where it is

incorporated and where its principal place of business presides. Third, the claim is based upon

Grinnell’s actions, or lack thereof, which took place in Iowa. Regarding the convenience of the

parties, the Iowa forum is likely to be less convenient to Ms. Santos than it is to Grinnell.




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However, given Ms. Santos’s willingness to file a related suit in California, any inconvenience of

moving forward with this suit in Iowa should not be considered overly burdensome to Plaintiff.

Fifth, the primary witnesses of this suit would appear to be primarily Grinnell employees, all of

whom currently work or, at least, have worked in Iowa; Ms. Santos, who spent the equivalent of

an academic year in Iowa; and Ms. Santos’s parents, who flew to Iowa on at least one occasion.

Ms. Santos may wish to have other witnesses who are located in Maryland or the “D.C. Area,”

such as Ms. Santos’s psychotherapist and psychiatrist, but the primary witnesses who were

directly involved with Ms. Santos’s academic progress at Grinnell either reside or, at least, have

resided in Iowa pursuant to their employment or academic studies at Grinnell. Last, the extent to

which proof is accessible is not a weighty factor in this case, since as Ms. Santos states, “[a]ccess

to sources of proof is effortless since documentary evidence in this matter is portable . . . .” Pl.’s

Ans. Br. ¶ 69. Ultimately, the Court finds that the private interest factors in this suit support a

transfer to Iowa.

                                     b. Public Interest Factors

       “Courts in this district have consistently found that the public interest favors allowing

[courts in] the state in which the alleged wrongful conduct took place to resolve conflicts arising

from acts committed entirely in that state.” Spaeth, 845 F. Supp. 2d at 59 (quoting Levin v.

Majestik Surface Corp., 654 F. Supp. 2d 12, 16 (D.D.C. 2009). Accordingly, courts may refer to

the following considerations to evaluate the public interest of transferring a particular case:

“(1) the transferee forum’s familiarity with the governing laws and the pendency of related

actions in that forum; (2) the relative congestion of the calendars of the potential transferee and

transferor courts; and (3) the local interest in deciding local controversies at home.”

Montgomery, 532 F. Supp. 2d at 34.




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       The Court gives the final factor particular weight, given the District of Columbia’s lack

of interest in this suit. The two parties are non-residents and the basis of this suit involves events

that took place almost exclusively in Iowa. Thus, the District of Columbia’s connection to this

suit is, at best, attenuated, particularly when considered in light of Iowa’s interest in adjudicating

a matter which involves an Iowa resident and substantially involves factual allegations which

took place in Iowa. Accordingly, the public interest considerations favor a transfer to Iowa.


                                       IV. CONCLUSION

       For the foregoing reasons, the Court transfers this suit to the United States District Court

for the Southern District of Iowa, pursuant to 28 U.S.C. § 1404. An order consistent with this

Memorandum Opinion is separately and contemporaneously issued.



Dated: November 25, 2013                                            RUDOLPH CONTRERAS
                                                                    United States District Judge




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